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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                             NORTHWESTERN DIVISION

United States of America,            )
                                     )
              Plaintiff,             )       ORDER AMENDING
                                     )       CONDITIONS OF RELEASE
       vs.                           )
                                     )
James Hayes Simpson,                 )        Case No.: 4:12-cr-175-18
                                     )
              Defendant.             )
                                     )


       IT IS ORDERED that defendant James Hayes Simpson’s conditions of release are

AMENDED to include the following additional conditions:

       (1)    Defendant shall report to the Pretrial Services Officer at such times and in

              such manner as designated by the Officer.

       (2)    Defendant shall submit his bank records to a search conducted by the Pretrial

              Services Officer at the request of the Pretrial Services Officer.

       (3)    Defendant shall submit his person, residence, vehicle, and/or possessions to

              a search conducted by a Pretrial Services Officer at the request of the Pretrial

              Services Officer.    Failure to submit to a search may be grounds for

              revocation of pretrial release. Defendant shall notify any other residents that

              the premises may be subject to searches pursuant to this condition.

       All previously imposed conditions of release remain in effect.

       Dated this 27th day of March, 2014.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court
